98 F.3d 1347
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Robert BERNHARD, Defendant-Appellant.
    No. 96-10032.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 7, 1996.*Decided Oct. 11, 1996.
    
      Before:  BEEZER, KOZINSKI and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Robert Bernhard appeals his sentence under the Sentencing Guidelines imposed following his guilty plea to armed bank robbery.  His counsel submitted a brief pursuant to  Anders v. California, 386 U.S. 738 (1967), and a motion to withdraw as counsel of record.  Our independent review of the record discloses no issues for review.  Accordingly, we grant counsel's motion to withdraw and affirm the district court's judgment.
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    